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                    EXHIBIT A
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                                 Bank of America Revolving Loan Availability


           Revolving Loan
  Date       Availability
 4/29/16   $   16,744,584
 5/31/16   $   12,646,037
 6/30/16   $   14,428,141
 7/29/16   $     7,713,254                                          Revolving Loan Availability
 8/31/16   $     6,707,625    $45,000,000
 9/30/16   $     8,554,771
10/31/16   $     7,418,997                                             VINTON SALE
                              $40,000,000                                 12/20/16
11/30/16   $     3,619,580
12/30/16   $   41,569,109
 1/31/17   $   34,078,220
                              $35,000,000
 2/28/17   $   35,340,996
                                              BLACK                                                 BANKRUPTCY
 3/31/17   $     7,236,853
                                             DIAMOND                                                FILING 10/1/19
 4/28/17   $     4,999,526    $30,000,000
                                            ACQUISITION
 5/31/17   $     4,063,519
 6/30/17   $     2,029,330
                                             OF BAYOU
 7/31/17   $     2,368,892    $25,000,000      4/4/16
 8/31/17   $     1,519,795
 9/29/17   $     1,750,524                                                  DISTRIBUTION
                              $20,000,000
10/31/17   $     4,133,233                                                  EFFECT 3/17/17
11/30/17   $     3,274,116
12/29/17   $     6,838,950    $15,000,000
1/31/18    $     7,593,367
2/28/18    $     4,738,801
3/30/18    $       583,773    $10,000,000
 4/30/18   $     1,531,685
 5/31/18   $     3,015,713
 6/29/18   $     2,267,212     $5,000,000
 7/31/18   $     5,850,159
 8/31/18   $     3,241,695
                                      $-
 9/28/18   $     1,800,454
10/31/18   $     2,262,784
11/30/18   $     1,663,739
12/31/18   $     1,675,272
 1/31/19   $     3,247,821
 2/28/19   $     1,146,269
 3/31/19   $     1,152,976
 4/30/19   $     2,105,127
 5/31/19   $       528,920
 6/30/19   $       730,263
 7/31/19   $     1,269,839
 8/30/19   $     3,964,862
 9/30/19   $     7,147,380
